[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                                JUDGMENT
The parties having agreed that the petitioner has been designated by CT Page 9702 the Board of Parole to be parole eligible at 50%, as set forth on the attached Department of Correction counselor information screen, the Court hereby enters Judgment in accordance therewith.
It is ordered that the petitioner shall be eligible for parole at 50% pursuant to the parties stipulation.
SO ORDERED
Dated at New Haven Connecticut, this 24th day of July, 2002.
By the Court
Hadden, J.T.R.
                      COUNSELOR INFORMATION SCREEN
NAME: MCGAHEE, LEONARD         NUNBER: 136041         DOB: 06/26/1967 LOCATION: CHESHIRE CC          STATUS: SENT YR+       SRG/T: RACE: BLACK                    SEX: M OFFENSE: 53A134A     ROBBERY 1ST DEG B-FE             BOND: 9999999
MINIMUM SENT:        Y  M  D    MAXIMUM SENT:             10 Y  M  D CONSECUTIVE HLD:                TOTAL EFFECT TERM:           Y  M  D MIN REL DT: 00/00/0000  MAX REL DT: 11/19/2009  EST REL DT: 00/00/0000
PAROLE ELIG DT: 11/20/2004           DETAINER: BASED ON 50% TO BE SERVED VOTED TO PAROLE DATE:      00/00/0000 LAST HEARING DISPOSITION:                 REFER TO BOP FOR MORE INFO
LAST DISCIPLINARY REPORT: 08/12/2001 OFFENSE: THEFT CLASS B TOTAL NUMBER OF TICKETS:   8
OVERALL    4       ESCAPE       1 SEV VIOL CURR OFF   4 VIOL HIST 3 LEN CNFNMT 3       DETAINERS    4 DISCIPLINE          1 SRG       1 LAST RISK SCORE CH:   11/23/1999   NEXT REVIEW DATE:  05/14/2002
TRANS: RT51 NUMBER: 00136041       DEPT OF CORRECTION    04/01/2002